The facts, admitted by demurrer, are these: the plaintiff is the son of Mrs. Leon Taylor, with whom he had been living in happiness for many years. In 1943, the defendant by his arts, blandishments and seductions, alienated her love for the plaintiff. As a result thereof, the plaintiff has suffered great distress and, in being deprived of his mother's love, has lost much happiness and been denied her social and moral support, guidance and protection.
These facts do not state a good cause of action. Coulter v.Coulter, 73 Colo. 144. See also Morrow v. Yannantuono,273 N.Y.S. 912; Eschenbach v. Benjamin, 195 Minn. 378; Cole v.Cole, 277 Mass. 50. And no action lies by a parent for the loss of affection of a child. Pyle v. Waechter, 202 Iowa 695;Miles v. Cuthbert, 122 N.Y.S. 703.
While the defendant may have destroyed a right of the plaintiff to enjoy the love of his mother, that right is a moral, natural right and not a legal one.
   The demurrer is sustained.